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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                                  CRIMINAL ACTION

              v.

ABDOU KOUDOS ADISSA                                       No.15-544


                                          ORDER

       AND NOW, this    ~ of December, 2020, upon consideration of Defendant's prose
Motion to Dismiss the Indictment (Doc. No. 102) and the Government's Response in Opposition to

the Motion (Doc. No. 108), it is ORDERED that Defendant's Motion (Doc. No. 102) is DENIED.




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